Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 1 of 26




                  EXHIBIT “2
                Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 2 of 26
9/18/2019                                                  publicaccess.co.galvoston.tx.us/CaseDetail.aspx?CaselD=1478069

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                                                                         Case Summary
                                                                        C ask No. 19-0-1515



  Debra Milton vs. Allstate Insurance Company Et Al                                   5                                     Contract - Debt -
                                                                                                             Case Type:
                                                                                      §                                     Commercial/Consumer
                                                                                      5                      Date Filed:    08/21/2019
                                                                                      §                        Location:    56th District Court
                                                                                      §                 Judicial Officer:   Cox, Lonnie
                                                                                      §


                                                                             Party Inkokmatkjx


                                                                                                                                   Lead Attorneys
  Defendant       Allstate Insurance Company
                   By Serving Its Registered Agent for process
                   C T Corporation System
                   1999 Bryan St., Suite 900
                   Dallas, TX 75201


 Defendant        ServiceMaster Restoration by Eliana
                  By Serving Its Chief Executive, President, any
                 Vice President
                  2231 Sturgis Rd #100
                  Oxnard, CA 93030



 Defendant       ServiceMaster Restore
                  By Serving Its Chief Executive. President, any
                 Vice President
                  One Service Master Center
                  150 Peabody Place
                  Memphis, TN 38103


 Defendant       The ServiceMaster Company
                  By Serving Its Chief Executive, President, any
                 Vice President
                  One Service Master Center
                  150 Peabody Place
                  Memphis, TN 38103



 Plaintiff       Milton, Debra                                                                                                    Dennis J Albright
                                                                                                                                   Retained
                                                                                                                                  832-668-5033(W)
                                                                                                                                  832-659-0314(F)
                                                                                                                                  dennis@dennisalbright.com


                                                                      Kvkints & Orders of tub Court

              OTHER EVENTS AND HEARINGS
 08/21/2019 Original Petition - OCA
                Plaintiff's Original Petition, Requests for Disclosure and for Jury Trial
 08/21/2019 OCA Case Information Sheet
                Civil Information Sheet
 08/21/2019
                4 certified mail citations to be issued. Assigned to Robin
 08/21/2019 Status Conference Sheet
                Emailed to Attorney
 08/21/2019 Receipt Acknowledge
                s/c notice
 08/22/2019 Citation bv Certified Mail Issuance • Work Product
                Issued 1 citation @ $8.00 along with S/C sheet Mailed by C/M mail/RG
 08/22/2019 Citation bv Certified Mail Issuance • Work Product
              Issued 1 citation @ $8.00 along with S/C sheet Mailed by C/M mail/RG
 08/22/2019 Citation bv Certified Mail Issuance • Work Product
                Issued 1 citation @ $8.00 along with S/C sheet Mailed by C/M mail/RG
 08/22/2019 Citation bv Certified Mail Issuance • Work Product
              Issued 1 citation @ $8.00 along with S/C sheet Mailed by C/M mail/RG
 08/27/2019 Notice • From Court of Settina Date /Judicial Officer: Cox. Lonnie )
                11/14/19 at 9:30 AM Status Conference
 08/29/2019   Citation bv Certified Mai! and Return
 08/29/2019   Citation bv Certified Mail and Return
 09/03/2019   Citation bv Certified Mail and Return
 09/06/2019   Citation Returned Unexecuted
                Returned by US Postal Service / Marked Return to Sender/ No Such Street /Unable to Forward
 11/14/2019 Status Conference (9:30 AM) (Judicial Officer Cox, Lonnie)

publicaccess. co.galveston. lx. us/CaseDetail.aspx?CaselD=1478069                                                                                             1/2
9/18/2019         Case 3:19-cv-00317 Document      1-2 Filed on 09/20/19 in TXSD Page 3 of 26
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          Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 4 of 26



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                                                                                                                    Cllatlon by Ccrtlflad Mall and Ralum
                                                                                                                    1882211
                                                     CITATION BY CERTIFIED MAIL (TRC 106)
                                                                THE STATE OF TEXAS
                                                                                       Cause No: 19-CV-1S15
                                                                                       56th District Court of Galveston County
     DEBRA MILTON VS. ALLSTATE INSURANCE COMPANY ET AL
                                                                                                                           JOHN O. KINARD
                                                                                                                          CLERK DISTRICT COURT
                                                                                                                                 FJLEX)
    TO: ServiceMaster Restore
         By Serving Its Chief Executive Office, President, any Vice President, or any other officer authorized to accept            ^
        One Service Master Center
                                                                                                                    HALVE^ON C$UNT
        150 Peabody Place                                                                                                      UNTY, TEXAS
        Memphis, TN 38103                                                                                          BY___
                                                                                                                                     "BITOT?
    Defendant Greetings:______________________________________________________________________________________________________
    NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file a written answer
    with the clerk who issued this citation by 10:00 am on the Monday next following the expiration of 20 day after the date you
    were served this citation and petition, a default judgment may be taken against you."        TRCP. 99_______________________________
    You are hereby commanded to appear by filing a written answer to the Plaintiff's Petition at or before 10:00 o'clock A.M. on the
    Monday next after the expiration of 20 days after the date of service of this citation before the 56th District Court of Galveston
    County, at the Courthouse in said County in Galveston, Texas, Said written answer may be filed by mailing same to: District Clerk's
    Office, 600 59th Street, Suite 4001, Galveston, Texas 77551-2388. Said Plaintiffs Original Petition - OCA was filed in said court on the
    21st day of August, 2019 in the above entitled cause.


    The nature of Plaintiff's demand is fully shown by a true and correct copy of the petition accompany this citation and made a part
    hereof.

    Issued and given under my hand and the seal of the Said Court at Galveston, Texas, on the 22nd day of August, 2019.

    Issued at the request of                                                             John D. Kinard, District Clerk
    Dennis J Albright                                                                    Galveston County, Texas
    Albright & Lumpkin PC
    18333 Egret Bay Blvd Suite 680
    Houston TX 77058

                                                                                         Robin Gerhardt, Deputy
    SEE ATTACHED FORM          NOTE: Status Conference set:   11/14/2019
                                                 CERTIFICATE OF DELIVERY BY CERTIFIED MAIL
    Came to hand on the 8/22/2019at         3:00 o'clock P. M. and executed on the   7 (ft^ day of                        , 20   f\ . at


               .o'clock___ . M., by mailing the same to ServiceMaster Restore, Defendant by registered, certified mall with delivery
    Restricted to addressee only, return receipt requested, a true copy of this citation with a copy of the petition were attached
    thereto.                                                         JOHN 0. KINARD. District Clerk Galveston County. Texas
                                                                                                                             Authorized Person
                                                                                      JCluAtutlzh
                                                         BY:                                                          _j Deputy Clerk

    Service Fee: $

    Certified Tracking Mail                           Place sticker here
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    Signed for or                                     Signed By:
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Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 5 of 26




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    ServiceMaster Restore
    By Serving Its Chief ExecutiveiOffice, PrefcifJiMt
    any Vice Presidents any other officer authored
    to accept service of process
                                                3. Service Type:
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    Memphis, TN 38103                               Certiflnd Mail Restricted Delivery
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                                                               Cause No: 19-CV-1515

 2. Certified Mail (Form 3800) Article Number                   Robin Gerhardt

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                                 GALVESTON TX 775^1-SBOO
      Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 6 of 26


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                                                CITATION BY CERTIFIED MAIL (TRC 106)
                                                          THE STATE OF TEXAS
                                                                                   Cause No: 19 CV-1515
                                                                                   56th District Court of Galveston County
DEBRA MILTON VS. ALLSTATE INSURANCE COMPANY ET AL
                                                                                                                  CLERK OIS
                                                                                                                          FILED
TO: The ServiceMaster Company, LLC
    By Serving Its Chief Executive Office, President, any Vice President, or any other officer authorized to accepi
    One Service Master Center
                                                                                                               GALVI                          TEXAS
    150 Peabody Place
    Memphis, TN 38103                                                                                        BT---------------------------------


Defendant Greetings:______________________________________________________________________________________________________
NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file a written answer
with the clerk who issued this citation by 10:00 am on the Monday next following the expiration of 20 day after the date you
were served this citation and petition, a default judgment may be taken against you."        TRCP. 99_______________________________
You are hereby commanded to appear by filing a written answer to the Plaintiffs Petition at or before 10:00 o'clock A.M. on the
Monday next after the expiration of 20 days after the date of service of this citation before the 56th District Court of Galveston
County, at the Courthouse in said County In Galveston, Texas. Said written answer may be filed by mailing same to: District Clerk's
Office, 600 59th Street, Suite 4001, Galveston, Texas 77551-2388. Said Plaintiffs Original Petition - OCA was filed in said court on the
21st day of August, 2019 in the above entitled cause.


The nature of Plaintiffs demand Is fully shown by a true and correct copy of the petition accompany this citation and made a part
hereof.


Issued and given under my hand and the seal of the Said Court at Galveston, Texas, on the 22nd day of August, 2019.

Issued at the request of                                                             John D. Kinard, District Clerk
Dennis J Albright                                                                    Galveston County, Texas
Albright & Lumpkin PC
18333 Egret Bay Blvd Suite 680
Houston TX 77058

                                                                                     Robin Gerhardt, Deputy
SEE ATTACHED FORM          NOTE: Status Conference set: 11/14/2019
                                             CERTIFICATE OF DELIVERY BY CERTIFIED MAIL
Came to hand on the 8/22/2019at         3:00 o'clock P. M. and executed on the           day of                          ,20l_l^L_,at


_________ o’clock____, M., by mailing the same to The ServiceMaster Company, Defendant by registered, certified mall with delivery
Restricted to addressee only, return receipt requested, a true copy of this citation with a copy of the petition were attached
thereto.                                                         JOHN D. KINARD. District Clerk Galveston Countv. Texas
                                                                                                                            Authorized Person
                                                                                       JCUsV                         ' Deputy Clerk
                                                    BY:
       Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 7 of 26




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1. Article Addressed to:
   ServiceMaster Restoration by Eliana                                                                                      f1c
   By Serving Its Chief Executive Office, Preside         t                                                                 J
   any Vice President,or any other officer author         cd
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                                                                       CauseNo: 19-CV-1515

2. Certified Mail (Form 3800) Article Number                           Robin Gcrhardt
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         Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 8 of 26


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                                                 CITATION BY CERTIFIED MAIL (TRC 106)
                                                           THE STATE OF TEXAS
                                                                                     Cause No: 19-CV-1515
                                                                                     56th District Court of Galveston County
 DEBRA MILTON VS. ALLSTATE INSURANCE COMPANY ET AL
                                                                                                                JOHN Q. KINARD
                                                                                                               CLERK DISTRICT COURT
                                                                                                                       FILEJJ
TO: Allstate Insurance Company
      By Serving Its Registered Agent C T Corporation System
      1999 Bryan St., Suite 900
                                                                                                                     SEP - 3 2019
      Dallas, Texas 7S201
                                                                                                               3:3^ PM
                                                                                                            GALVESTON COUNTY, TEXAS
                                                                                                            Y--------------------------------------- BCnUTV
Defendant Greetings:
NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file a written answer
with the clerk who issued this citation by 10:00 am on the Monday next following the expiration of 20 day after the date you
were served this citation and petition, a default judgment may be taken against you.“         TRCP. 99_________________________________
You are hereby commanded to appear by filing a written answer to the Plaintiff's Petition at or before 10:00 o'clock A.M. on the
Monday next after the expiration of 20 days after the date of service of this citation before the 56th District Court oi Galveston
County, at the Courthouse in said County in Galveston, Texas. Said written answer may be filed by mailing same to: District Clerk's
Office, 600 59th Street, Suite 4001, Galveston, Texas 77551-2388. Said Plaintiff's Original Petition - OCA was filed in said court on the
21st day of August, 2019 in the above entitled cause.


The nature of Plaintiffs demand is fully shown by a true and correct copy of the petition accompany this citation and made a part
hereof


Issued and given under my hand and the seal of the Said Court at Galveston, Texas, on the 22nd day of August, 2019.

Issued at the request of                                                              John D. Klnard, District Clerk
Dennis J Albright                                                                     Galveston County, Texas
Albright & Lumpkin PC
18333 Egret Bay Blvd Suite 680
Houston TX 77058

                                                                                      Robin Gerhardt, Deputy
SEE ATTACHED FORM          NOTE: Status Conference set: 11/14/2019
                                             CERTIFICATE OF DELIVERY BY CERTIFIED MAIL
                                        3:00 o’clock P. M. and executed on the ■uP day of                 (Ai-r
Came to hand on the 8/22/2019at _


__________o'clock____. M., by mailing the same to Allstate Insurance Company, Defendant by registered, certified mall with delivery
Restricted to addressee only, return receipt requested, a true copy of this citation with a copy of the petition were attached
thereto.                                                         JOHN O. KINARD. District Clerk Galveston County, Texas
                                                                                                                               Authorized Person


                                                                                                                       _, Deputy Clerk


Service Fee: $

Certified Tracking Mail                           Place sticker here            r                                                 i
                                                                            1       Certified Article Number                          !

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Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 9 of 26




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   1. Article Addressed to:
       Allstate Insurance Company
       By  Serving Its Registered Agent
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   2. Certified Mail (Form 3800) Article Number                          Robin Gerhardt

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                                  600 59TH STREET SUITjNM*      f
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Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 10 of 26




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                                                 CITATION BY CERTIFIED MAIL (TRC 106)
                                                          THE STATE OF TEXAS
                                                                                      Cause No: 19-CV-1515
                                                                                      56th District Court of Galveston County
DEBRA MILTON VS. ALLSTATE INSURANCE COMPANY ET AL
                                                                                                                     c/PIJN D KINARD
                                                                                                                     CLERK DISTRICT COURT
                                                                                                                               rtcED
TO: ServiceMaster Restoration by Eliana
    By Serving Its Chief Executive Office, President, any Vice President, or any other officer authorized to accept     St?< <rog
    2231 Sturgis Rd. No. 100                                                                                              3     0 ~1 P M
                                                                                                                  OALVESTON COUNTY, TEXAS
    Oxnard, CA 93030
                                                                                                               by_
                                                                                                                                        twtiv
Defendant Greetings:
NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file a written answer
with the clerk who issued this citation by 10:00 am on the Monday next following the expiration of 20 day after the date you
were served this citation and petition, a default judgment may be taken against you." TRCP. 99
You are hereby commanded to appear by filing a written answer to the Plaintiff's Petition at or before 10:00 o'clock A M, on the
Monday next after the expiration of 20 days after the date of service of this citation before the 56th District Court of Galveston
County, at the Courthouse in said County in Galveston, Texas. Said written answer may be filed by mailing same to: District Clerk's
Office, 600 59th Street, Suite 4001, Galveston, Texas 77551-2388 Said Plaintiff s Original Petition - OCA was filed in said court on the
21st day of August, 2019 in the above entitled cause.


The nature of Plaintiff's demand is fully shown by a true and correct copy of the petition accompany this citation and made a part
hereof.


Issued and given under my hand and the seal of the Said Court at Galveston, Texas, on the 22nd day of August, 2019.

Issued at the request of                                                               John D. Kinard, District Clerk
Dennis J Albright                                                                       Galveston County, Texas
Albright & Lumpkin PC
18333 Egret Bay Blvd Suite 680                                                  By:
Houston TX 770S8

                                                                                        Robin Gerhardt, Deputy
SEE ATTACHED FORM          NOTE: Status Conference set: 11/14/2019
                                             CERTIFICATE OF DELIVERY BY CERTIFIED MAIL
Came to hand on the 8/22/2019at         3:00 o'clock P. M. and executed on the________day of___________________, 20_____ , at


_________o'clock___ M,, by mailing the same to ServiceMaster Restoration by Eliana, Defendant by registered, certified mail with
delivery
Restricted to addressee only, return receipt requested, a true copy of this citation with a copy of the petition were attached
thereto.                          _          ,                   JOHN D, KINARD, Oistrict Clerk Galveston County. Texas
                                                                                                                          Authorized Person

                                                                                                                        Deputy Clerk


Service Fee: $

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Signed for on                                    Signed By:
                                             Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 11 of 26

                                                          CERTIFIED MAIL'
            John D. Kinard, District Clerk
            600 59th Street, Suite 4001
            P.O. Box 17250
            Galveston. TX 77551-2388
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                                15         ServiceMaster Restoration by Eliana                                                                                 E
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                                    u   2. Certified Mail (Form 3800) Article Number

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                                        ; PS Form 3811, Facsimile, Jiiy 2015
                                                                                                          Robin Gcrhardt



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Case 3:19-cv-00317 Document 1-2 Filed on 09/20/19 in TXSD Page 13 of 26

                                                                                              Filed: 8/21/2019 9:14 AM
                                                                                        JOHN D. KINARD - District Clerk
                                                                                              Galveston County, Texas
                                                                                               Envelope No. 36140404
                                                                                                          By: Lisa Kelly
                                                                                                   8/21/2019 12:44 PM
                                                19-CV-1515
                                     Case No.

 Debra Milton                                      *         In the District Court of
                                                   * Galveston County - 56th District Court
vs                                                 *
                                                   *         Galveston County, Texas
Allstate Insurance Company,                        *
ServiceMaster Restoration by Eliana,               *
ServiceMaster Restore, The                         *                 Judicial District
ServiceMaster Company                              *

                                  Plaintiffs Original Petition,
                           Requests for Disclosure, and for Jury Trial

TO THE HONORABLE COURT:

        Debra Milton, Plaintiff, complains of Allstate Insurance Company, Craig Parrish

ServiceMaster Restoration by Eliana, ServiceMaster Restore, and The ServiceMaster Company,

Defendants, and for cause of action shows:

                              Statement of Relief Sought/Discovery

        1.      Plaintiff affirmatively pleads that discovery should be conducted in accordance with

a discovery control plan under Civil Procedure Rule 190.3.

       2.       Plaintiff seeks only monetary relief in an amount over $500,000 but not more than

$1,000,000.

                                                Parties

       3.       Plaintiff, Debra Milton, is an individual residing in Galveston County, Texas.

       4.       Defendant Allstate Insurance Company ("Allstate") is a duly licensed insurance

company authorized to engage in the insurance business in Texas. Citation may be served on Allstate

by serving its registered agent for process, C T Corporation System, at 1999 Bryan St., Suite 900,

Dallas, Texas 75201.


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              Status Conference set for 11/14/19 Emailed to Attorney by MM
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        5.      Defendant ServiceMaster Restoration by Eliana may be served with process by

serving its chief executive office, president, any vice president, or any other company officer

authorized to accept service of process, at 2231 Sturgis Rd #100, Oxnard, CA 93030.

        6.      Defendant ServiceMaster Restore may be served with process by serving its chief

executive office, president, any vice president, or any other company officer authorized to accept

service of process, at One ServiceMaster Center, 150 Peabody Place, Memphis, TN 38103.

        7.      Defendant The ServiceMaster Company, LLC, may be served with process by serving

its chief executive office, president, any vice president, or any other company officer authorized to

accept service of process, at One ServiceMaster Center, 150 Peabody Place, Memphis, TN 38103.

        8.      Unless specifically singled out, Defendants ServiceMaster Restoration by Eliana,

ServiceMaster Restore and The ServiceMaster Company are collectively referred to as

"ServiceMaster".

                                         Jurisdiction/V enue

        9.      The Court has jurisdiction over this cause of action because the amount in controversy

is within the jurisdictional limits ofthe Court. Plaintiff is seeking monetary relief over$500,000 but

not more than $ 1,000,000. Plaintiff reserves the right to amend her petition during anchor after the

discovery process.

        10.    The Court has jurisdiction over Defendant Allstate because this defendant is a foreign

insurance company that engages in the business of insurance in the State of Texas, and Plaintiffs

causes of action arise out of this defendant's business activities in the State of Texas.

        11.    The Court has jurisdiction over Defendant Parrish engages in the business of

adjusting insurance claims in the State of Texas, including claims associatd with Hurricane Harvey


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in 2017; and Plaintiffs causes of action arise out of this defendant's business activities in the State

of Texas.

        12.     The Court has jurisdiction over Defendants ServiceMaster Restoration by Eliana,

ServiceMaster Restore, and The ServiceMaster Company because these Defendants engage in the

business of residential cleaning and disaster restoration in the State of Texas, particularly in

connection Hurricane Harvey in 2017; and Plaintiffs causes of action arise out of this defendants'

business activities in the State of Texas.

        13.    Venue is proper in Galveston County, Texas, because the insured property is situated

in Galveston County, Texas. Tex. Civ. Prac. & Rem. Code §15.032.

                                     Preservation of Evidence

        14.    Plaintiff hereby requests and demands Defendants preserve and maintain all evidence

pertaining to any claim or defense related to the incident made the basis of this lawsuit or the

resulting damages including statements, photographs, videotapes, audiotapes, surveillance or security

tapes or information, business or medical records, incident reports, periodic reports, financial

statements, bills, telephone call slips or records, estimates, invoices, checks, measurements,

correspondence, facsimiles, email, voice mail, text messages, any evidence involving the incident

in question, and any electronic image or information related to the referenced incident or damages.

Failure to maintain such items will constitute "spoilation" of the evidence.

                                       Factual Background

       15.     Plaintiff is the owner of a certain tract of land, and all improvements thereon, located

in Galveston County, Texas ("the Property") commonly known as 3513 Cedar Dr., Dickinson, Texas

77539, and legally described as:


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        Lot Eleven (11) of BERGERON ADDITION, a subdivision in Galveston

        County, Texas, according to the map or plat thereof, recorded in Volume

        254-A, Page 66 of the Map Records of Galveston, County, Texas, and being

        transferred to Volume 3, Page 27 of the Map Records of Galveston County,

        Texas.

The Property was Plaintiffs home, and improved with a custom log home.

        16.      Plaintiff is the owner of a Texas Insurance Policy No. ***8734 ("the Policy"), which

was issued by Allstate, and insuring Plaintiffs Property, the dwelling and its contents, against loss

caused by flood, among other things.

        17.     On or about August 26,2017, Plaintiffs home was severely damaged due to flooding

after Hurricane Harvey ("the Incident"). The flood waters caused extensive water and structural

damage throughout the interior of the log home. Plaintiff also suffered food loss and significant

damage to her personal belongings and contents of the home. In addition, due to the resulting

condition of her home, Plaintiff incurred additional living expenses. Immediately after the Incident,

filed a claim with Allstate for the damages caused by the Incident.

        18.    Plaintiff asked that Allstate cover the damages and losses pursuant to the Policy.

        19.    Allstate assigned its adjuster, Craig Parrish, to adjust the claim. Allstate's adjuster

was improperly trained and failed perform a thorough investigation of Plaintiffs claim.

       20.     Specifically, Allstate's adjuster Parrish conducted a substandard inspection of the

Property during which he spent an inadequate amount of time inspecting the Property and failed to

thoroughly scope all of the damages to the Property. Allstate failed to attempt in good faith to

effectuate a prompt, fair, and equitable settlement of this claim because it and its adjuster did not



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 adjust the claim properly as a total loss of the structure and contents, as should have been done, and

then paid insurance proceeds accordingly. Instead, it and its adjuster insisted that the home was

repairable, and engaged Defendants ServiceMaster Restore and The ServiceMaster Company to

address the water damage, and mold and related consequences of the water damage.

        21.     Defendants ServiceMaster Restore and The ServiceMaster Company apparently called

in ServiceMaster Restoration by Eliana, which on information and belief is a franchisee of

Defendants ServiceMaster Restore and The ServiceMaster Company, and directed and/or assigned

Defendant ServiceMaster Restoration by Eliana to Plaintiff, and represented that it could and would

timely, adequately and professionally perform the necessary services to address the water damage,

and mold and related consequences of the water damage. In fact, its services were not timely or

professional, and were wholly inadequate and ineffective. After the Incident, the structural damage

exponentially increased from the mold which overcame the home. Defendant ServiceMaster

Restoration by Eliana failed to respond to Plaintiff about the defective and ineffective work it

performed, and wholly failed to correct, or even attempt to correct, the situation.

       22.     In desperation, Plaintiff moved up the ServiceMaster chain, and reached out to

Defendants ServiceMaster Restore and The ServiceMaster Company, which recognizing the obvious

liability, appeared to try to step in and address the problem, but likewise failed. Continuing to

recognize its liability to Plaintiff, Defendants ServiceMaster Restore and The ServiceMaster

Company apparently made a claim under their applicable insurance, as Plaintiff was contacted by

an adjuster assigned by Defendants ServiceMaster Restore and The ServiceMaster Company's

insurance. On information and belief, Defendants ServiceMaster Restore and The ServiceMaster

Company, and/or their insurance, had an expert inspect and report in November, '17, on the


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 unresolved mold and related consequences of the water damage. Defendants ServiceMaster Restore

 and The ServiceMaster Company, and their insurance failed to resolve anything, including Plaintiffs

damages and losses after the Incident.

          23.    In December '17, Plaintiff hired an expert to inspect and report on the unresolved

mold and related consequences of the water damage. By then, the home was consumed by mold,

mildew, fungus, etc., as the report states and shows in pictures taken and made a part of the report.

                                            Causes of Action

                                        CAUSES OF ACTION

          24.    Plaintiff incorporates by reference, the allegations set forth above as if fully set forth

herein.

          25.    Plaintiff alleges that violations of the common laws of the State of Texas were

committed “knowingly” and with “gross negligence,” “intent,” and/or “malice” and as a result

thereof, it is entitled to receive additional statutory and/or exemplary damages.

          26.    Plaintiff further alleges that in all of the conduct complained of herein, all employees,

servants, agents and representatives of each Defendant had the actual, implied, or apparent authority

to act on behalf of each Defendant.

          27.    Plaintiff further alleges that all conditions precedent to recovery herein have been

performed or have occurred and that each cause of action alleged herein is plead additionally and

alternatively.

A.        Breach of Contract

          28.    Without waiving the foregoing, but strictly relying upon the same, Plaintiff alleges

that the actions and conduct of Defendants constitute a breach of contract. Plaintiff purchased


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 insurance from Allstate. The insurance contract provides insurance coverage for her home against

loss from among other things, flood. Plaintiff timely reported the loss to Allstate and requested

adjustment of her claim. Despite full compliance with the Policy conditions, Allstate has failed and

refused and continues to final and refuse, to pay for Plaintiffs claim proximately causing actual,

incidental and consequential damages to Plaintiff as set forth hereinbelow.

        29.     Allstate hired ServiceMaster (referring now and collectively to all ServiceMaster

defendants) to perform drying services at the Plaintiffs home. As such, Plaintiff is either a third

party beneficiary of the contract between Allstate and ServiceMaster or parties to a contract with

ServiceMaster. The contract for drying and remediation services required ServiceMaster to use

customary industry standards in the performance of their services, by failing to fully dry the

residence and by failing to clean the residence. ServiceMaster’s breach has proximately causing

actual, incidental and consequential damages to Plaintiff as set forth hereinbelow.

B.     Violation of Texas Insurance Code

       30.     Without waiving the foregoing, but strictly relying upon the same, Plaintiff alleges

that the actions and conduct of Allstate violate §541 and §542 et al seq. of the TEX. INS. CODE.

       31.     Allstate has violated §541.051 of the TEX. INS. CODE, in a manner that has been

and is a producing cause of damages to Plaintiff by making statements misrepresenting with respect

to the Policy issued the terms of the Policy and the benefits or advantages promised by the Policy.

Specifically, Allstate has violated §541,060of the TEX. INS. CODE, in a manner that has been and

is a producing cause of damages to Plaintiff, by:

       (a)    Misrepresenting to a claimant a material fact or policy provision relating to the
       coverage at issue. §541.060(a)(1) Tex. Ins. Code;

       (b)     Not attempting in good faith to bring about a prompt, fair, and equitable settlement

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        of a claim once an insurer’s liability has become reasonably clear §541,060(a)(2( A) Tex. Ins.
        Code;

        (c)      Not promptly giving a policyholder a reasonable explanation, based on the policy as
        it relates to the facts or applicable law, for insurer’s denial of a claim or for the offer of a
        compromise settlement of a claim. §541.060(a)(3) Tex. Ins. Code;

        (d)    Failing within a reasonable time to affirm or deny coverage of a claim to a policy
        holder §541.060(a)(4)(A) Tex. Ins. Code; and

        (e)     Refusing to pay a claim without conducting a reasonable investigation of the loss.
                §541.060(a)(7) Tex. Ins. Code.

        32.     With regard to failing to bring about a settlement of the claim, Plaintiff provided

Allstate reasonable and necessary documentation to secure a proof of loss. For example, Plaintiff

timely answered specific questions about the loss and the pre-loss condition of the home; gave

recorded statements about the loss; submitted additional living expenses receipts; arranged, paid for

and submitted expert reports about the remediation and reconstruction costs for the home; arranged,

paid for and submitted an itemized inventory ofpersonal property losses, including their replacement

cost values and actual cash values; and submitted a sworn proof of loss. Despite this wealth of

information, Allstate has failed and refused and continues to fail and refuse to state any basis for the

delay or denial of coverage for the Plaintiffs claim.

       33.     Finally, Allstate failed to pay the Plaintiffs claim without conducting a reasonable

investigation of the loss. Allstate failed to hire qualified contractors to inspect the loss, failed to

consider the Plaintiffs expert reports regarding the loss and failed to identify, quantify, measure,

document and adjust the loss.

       34.     Allstate have violated §541.061 of the TEX. INS. CODE, in a manner that has been

and is a producing cause of damages to Plaintiff by misrepresenting an insurance policy by making

an untrue statement of material fact; failing to state a material fact necessary to make other

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 statements made not misleading, considering the circumstances under which the statements were

 made; making a statement in a manner that would mislead a reasonably prudent person to a false

conclusion of material fact; making a material misstatement of law; and/or failing to disclose in

accordance with another provision of the Texas Insurance Code. Specifically, that the home was not

a total loss and that ServiceMaster could and would perform the remediation process with reasonable

care and efficiency. Each of the foregoing representations, singularly and in combination are

material, false and known to be false when made. Allstate made the representations with intent that

Plaintiff act upon them. Plaintiff did in fact rely upon the misrepresentations when allowing

ServiceMaster to perform, attempt tp perform and fail to perform services in her residence.

        35.     Allstate has violated §542.051 et. Seq. oftheTEX. INS. CODE, in a manner that has

been and is producing cause of damages to Plaintiff, by failing to comply with §542.055-542.060

TEX. rNS. CODE and commence an investigation of Plaintiff claim and request from Plaintiffs

claim and request from Plaintiff all items, statements and forms that they reasonably believed would

be required within the applicable time constraints; provide Plaintiff with written notice of acceptance

or rejection of the claim no later than the 15th business day after the date they received all items,

statements, and forms, required to secure a proof of loss; failing to provide Plaintiff with written

notice of no later than the 15,h business day of the need for additional time to accept or reject the

claim; and failing to provide Plaintiff with written notice of acceptance or rejection of the claim no

later than the 45th day after notifying Plaintiff under §542.056(d) TEX. INS. CODE.

       36.     Allstate's acts and omissions violate §541 and §542 et. seq. of the TEX. INS. CODE

and were a producing cause of actual, incidental and consequential damages to Plaintiff as set forth

hereinbelow,


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 C.    Breach of Common Law Duty of Good Faith and Fair Dealing

         37.    Without waiving the foregoing, but strictly relying upon the same, Plaintiff alleges

that the actions and conduct of Allstate breach of the common law duty of good faith and fair

dealing. Allstate sold Plaintiff a residential property insurance policy (the “Policy”), which covered

risks to Plaintiffs residence and various other items of coverage. The insurance policy gave rise to

a duty of good faith and fair dealing, Allstate breached this duty by denying or delaying a payment

of a covered claim when Allstate knew or should have known that its liability under the policy was

reasonably clear. In this regard, Plaintiff provided Allstate and its adjuster with all reasonable and

necessary documentation to secure to secure aproof of loss. For example, Plaintiff timely answered

specific questions about the loss and the pre-loss condition of the home; gave recorded statements

about the loss; submitted additional living expenses receipts; arranged, paid for and submitted expert

reports about the remediation and reconstruction costs for the home; arranged, paid for and submitted

an itemized inventory ofpersonal property losses, including their replacement cost values and actual

cash values; and submitted a sworn proof of loss. Despite this wealth of information, Allstate has

failed and refused a sworn proof of loss. Despite this wealth of information, Allstate has failed and

refused and continues to fail and refuse to adjust the claim properly and declare the home a total loss.

Allstate’s breach of the duty of good faith and fair dealing has proximately caused actual, incidental

and consequential damages to Plaintiff as set forth hereinbelow.

D.     Breach of Warranty

        38,     Without waiving the foregoing, but strictly relying upon the same, Plaintiff alleges

that the actions and conduct of Allstate and ServiceMaster constitutes a breach of the implied

warranty of good and workmanlike performance of services. Allstate contacted, retained and


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controlled the activities of ServiceMaster in connection with the drying of Plaintiff residence. As

such, Allstate and ServiceMaster sold services to Plaintiff. Allstate and ServiceMaster’s services

included the drying and remediation of Plaintiff home after Hurricane Harvey caused water damage

in the home. Allstate and ServiceMaster did not perform the services in a good and workmanlike

manner, which was a breach of the implied warranty of good and workmanlike repair. Allstate and

ServiceMaster failed to utilize customary industry standards in the performance of their services, and

failed to fully dry and remediate the residence. Singularly and in combination, Allstate and

ServiceMaster's acts and omissions proximately caused actual, incidental and consequential damages

to Plaintiff.

E.     Violation of the Deceptive Trade Practices Act

        39.      Without waiving the foregoing, but strictly relying upon the same, Plaintiffallege that

the actions and conduct of Defendants as described hereinabove violate the Texas Deceptive Trade

Practices Act.

        40.      Each of the acts described hereinabove, together and singularly, constitute a violation

of the Texas Deceptive Trade Practice Act pursuant to its tie-in provision for the Insurance Code

violations. Accordingly, Plaintiff also bring each and every cause of action alleged above under the

Texas Deceptive Trade Practices Act pursuant to its tie provision.

        41.      At all material times hereto, Plaintiff was a consumer who purchased insurance and

remediation products and services from Allstate and ServiceMaster. Allstate and ServiceMaster

have violated the Texas Deceptive Trade Practices Act in the following manner:

        (a)    Representing that goods or services have sponsorship, approval, characteristics,
        ingredients, uses, benefits, or quantities they do not have, or that a person has a sponsorship,
        approval, status, affiliation, or connection he does not have;


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        (b)      Failing to disclose information about goods or services that was known at the time
        of the transaction if the failure to disclose was intended to induce the consumer to enter into
        a transaction that the consumer would not have entered into if the information had been
        disclosed;

        (c)      Failing to disclose information about goods or services that was known at the time
        of the transaction if the failure to disclose was intended to induce the consumer to enter into
        a transaction that the consumer would not have entered into if the information had been
        disclosed;

        (d)     Breaching the implied warranty of good and workmanlike performance of services;

        (e)     Engaging in an unconscionable course of action; and

        (f)    Using or employing and act or practice in violation of Chapter 541 of the Texas
        Insurance Code.

        42.     Allstate’s and ServiceMaster’s acts and omissions as described herein violate the

Texas Deceptive Trade Practices Act and are a producing cause of actual, incidental and

consequential damages to Plaintiff as set forth hereinbelow.

                                            DAMAGES

        43.     Asa result of the actions and conduct complained of herein, Plaintiff is entitled to

recovery of all actual, incidental, special and consequential damages sustained in an amount that

exceeds the minimum jurisdictional limits ofthis Court. These damages include, but are not limited

to: policy benefits wrongly withheld; professional and technical fees; mental anguish; diminution

in value of their residence.

        44.    Plaintiff is further entitled to the recovery of additional and/or exemplary damages

due to the knowingly, grossly negligent, intentional and/or malicious actions and conduct of Allstate,

Parrish and ServiceMaster.

        45.    Plaintiff is further entitled to the recovery of her reasonable and necessary attorneys

fees incurred in connection with this suit, pursuant to law.

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        46.     Plaintiff is further entitled to the recovery of pre-judgment and post-judgment interest

herein at the maximum amount allowed by the common and statutory laws of the State of Texas.

        47.     Plaintiff is further entitled to the recovery of costs of court.

                                 REQUESTS FOR DISCLOSURE

        48.     Pursuant to Rule 194 of the TEX.R. CIV. P., Defendants are requested to disclose

within 51 days of service of this request, the information or material described in Rule 194.2(a)-(l)

of TEX. R. CIV. P.

                                  DEMAND FOR JURY TRIAL

        49.     Pursuant to Rule 216 TEX. R. CIV. P., Plaintiff demands a jury trial on all issues

triable by a jury and pays the appropriate jury fee.

                                              PRAYER

        50.     WHEREFORE, PREMISES CONSIDERED, Plaintiff, Debra Milton, prays that the

Defendants, Allstate Insurance Company, ServiceMaster Restoration by Eliana, ServiceMaster

Restore, The ServiceMaster Company, be cited to appear and answer herein, and that upon full and

final trial herein, Plaintiff recover from Defendants, all actual damages sustained as the result of the

actions of Defendants along with additional exemplary damages, and damages attributed to

attorney’s fees, costs of court, pre-judgment and post-judgment interest, and such other and further

relief, whether general or special, at law and in equity to which Plaintiffs may show themselves justly

entitled by this pleading or proper amendment hereto.




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                                   Respectfully submitted,
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